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                                 AFFIDAVITOFHANINPRIETOINRESPONSEOFOBJE PJYDBY                                            D.
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          Through the presentlHANIN PRIETO give faith and declare underoath the following.On
          February 8,2019 IHanin Prieto subm itted an affidavitto the court in this case.M y statem ent
          w asm ade w ith the intention thata partialruling againstm e w ould be reconsidered being thatI
          should not be a partofthis because lam neitherpartofthe adm inistration northe ownersof
          thiscompany.Atthesame tim e,lasked the honorablejudgeto assign me the defense Iawyer
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           me a Iotofloss.AsIrepeat,ldo nothave much knowledge oftheIanguage,so Imake my
           statem ents in Spanish and then Igettranslated to presentitin the court.
                    Afterthe factthatIw asgiven a partialruling and waiting fora response to m y
          statementlhadto be m ore awareofcalling myold jobto see ifany documentshad arrived for
          me.lwastold thatobjection hadcome with my name,butIhave notbeen ableto retrieve it.l
          '
           Know -fnx: an dKjed lon w ashtlleà agéln<l m y a'fflàaofv'otlxJx'lea<x'lïdnodlà'nave'oeen sen'
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           address notto a place Ihaven'tworked atforovera year. lhave asked to be sentto m e. I
           have notbeen able to review itw ith som eone w ho translates itto m e.But nevertheless,Iknow
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           w ith these law yers. W hatthey wantisto m ake a defaultto w hoeverthey can.Iam aware that
           the com plaintagainstSanabiis ata stand because they are in bankruptcy now .This isw hy they
           don'twantm eto c tthe Iawyerthatwasr anted to me by acourtorderin orderto defend my
           rights. Thissituation isalso causing m e health problem s,but stillm ore desperation to see that
              althoughthecourtgranted meanorderforaIawyer,theopposingpartyobjectstoitjustto
           obtain a ruling againstm e ofsom ething thatIhave neitberpartnorfactaboutthe m atter.
                   ldo notunderstand because if1have always said and 1m aintain that Iam not proper
           party to this action norw as Iw asregistered agentand nevereven have em ployed or
           supervised anyone and the plaintiffknow sthat Iw as nottheirem ployer.Like them Ialso
              wofxeàe 'nours as'ilKeeveryonedlse.'lnéfïnerspelxnorreaàYnjfl/n,so'frh'naà'Knowndne
              language lassure you thatm y situation w ould be different.Therefore,ldo know that under
              Rule60 (b)(4)ofthe FederalRulesofCivilProcedure,ajudgmentisnullforIackofpersonal
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           have notbeen served even when lhavegiven my correctaddress.There are ordersand
           documentsthatfollow thefederalprocessthatIdo notunderstand.So,ldo notunderstand
           w hM l'm notassiqped a law verto defend m vself.ldo notknow w hatthe counterqart's
              objectionâays.lhavealwaysstatedthatatnotimewaslanemployerofthePlaintiffandunder
              theFairLaborStandardsAct,so Idid nothavejurisdictionovermyselfbecause1wasjust
              anotherem ployee and jwantm y chance in the courtofIaw to be able to affirm it
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      Beforem exthe undersiqpednotary publicxthisday.personallysappeared HANIN PR1E'l'O to me
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                o beingduly swonlaccordingto law,deposesthe ab venrritten affidavit.
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Case 1:17-cv-20608-JJO Document 145 Entered on FLSD Docket 03/04/2019 Page 3 of 4




                      DECLARACION IURADA DE HANIN PRIETO EN REPUEST A OBIECIO N
                                      CASO NO.17-:v-20608-1A


      Febrero de 2019
      Pormedio de la presente yo.HANIN PRIETO doy fey declaro bajojuramento Io siguiente.EIdia
      8 de febrerq,2019yo Hanin Prieto Ie presenteunadeclaraciönjuradaa lo corte que m anda en
      este caso-M ideclaraciön fue puesta con Ia intenci6n de que se m e reconsiderada un fallo
      parcialque se m e habia otorgado a m inom bre poreste caso,que de porhecho no deberia
      tenerparte porno sernide la adm inistraciön nide IosdueKosde Ia m ism a.A la vezIe pedia Ia
      'nonorddlequezque me accedierae'  Ia'oogado deîensorque se mebabiaconcedkdo pororden
       judicial.Porhecho de que estasituaciön se me estâ haciendo mucho daKo sinecesidad.Como
       Ie repito no tengo m ucho conocim iento deIidiom a porlo cualIe hago m isdeclaracionesen
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              Después deIhecho que se m e puso un fallo parcialy en espera de una repuesta a m i
      declaraciôn hetenido que estarmàspendiente de estarIlam ando a m iantiguo trabajo paraver
       siIlega algtin documento param ia ese Iugar.Supe quehabiaIlegado unaobjeciön con mi
       nombre,per'   o aunno la he visto.Consta que Iaobjeciön deIacontra parte no se me mando a
       m idireccién aun yo haberle pedido que se hiciera,no Io he podido revisarcon alguien que m e
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      com o defenderm e con estosabogadoslo que quieren es conseguirun fallo sea a quien sea.
      Sabiendo que Ia dem anda de Ia em presa Sanabiesté parada en una bancarrota ahora nisi
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       m is derechos. Esta situaciön m e esté causando problem asde salud,pero atin m âs
       desesperaciön a verque a pesarque Ia corte m e otorgado una orden para un abogado la
       contrqoarteseokietaaIamismasoloporobtenerunfallo contramidealgocualnoteqgo ni
      parte nihecho sobre elasunto.
               No entiendo porque sisiem pre he dicho y m antengo que yo no soy parte apropiada de
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       supervisado a nadie y eldem andante sabe m uy bien que no fuisu em pleador.AIigualyo
       también e abajaba40 horascom o todo Iosdemés.Yo nihablo nileo Iasinglesporlo cualsiIo
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      (b)(4)deIasReglasFederalesdeProcedimientoCivil,unfalloesnuloporfaltadejurisdicciön
      personaldebido a la falta de servicio deIproceso.En este caso hay docum entos que a m ino se
      m e ha servido aun Mo haberle dado m idirecciön correcta.Hay ördenes y docum entosque
      siguen proceso federalalcualyo no entiendo.Entonces,no entiendo porque no se m e asigna
       unabogado parapoderdefendermeNoséIoquedicelaobjeciöndeIacontraparte.Siempre he
       afirm ado que en ningun m om ento fuiun em pleadordelDem andante y en virtud de la Ley de
      normasIaboralesjustas,porIoquenoexistejurisdicciönsobremiporqueerasimplementeotro
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